                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06CR43-1


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
ROBERT BLAKE KELLER,                               )
                                                   )
                  Defendant.                       )
________________________________________           )


       THIS CAUSE coming on to be heard and being heard before the undersigned upon

a motion filed by the defendant entitled, “Motion to Revisit the Order of Detention Pending

Trial and Additional Relief” which had been filed by the defendant’s counsel and it

appearing to the court at the call of this matter on for hearing that the defendant was present

with counsel and that the Government was represented through Don Gast, Assistant United

States Attorney and from the evidence offered by the Government and the evidence offered

by the defendant and the arguments of counsel for the defendant and counsel for the

Government and the records in this cause, the undersigned makes the following findings.

       Findings: In an indictment issued on June 5, 2006 the defendant was charged with

conspiracy to manufacture and possess with intent to distribute more than 500 grams of

methamphetamine. The undersigned entered an order detaining the defendant but allowed

the release of the defendant to his father for the purpose of his father taking the defendant

to a place that could provide appropriate inpatient treatment for the defendant. In the order

it was stated that the defendant was to report to the Hope Valley treatment center in Dobson,



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North Carolina and complete said treatment program and that the defendant was then to

report back to court upon completion of the program or if discharged for any reason, the

defendant was to report to court immediately. The defendant was released to the custody

of his father for treatment but was then released by the Hope Valley treatment center in

Dobson, North Carolina on July 1, 2006 because the defendant allegedly fell down some

stairs. Thereafter, after hearing, the undersigned entered an order detaining the defendant,

that order having been filed on July 25, 2006. In the order the undersigned set forth the fact

that the defendant had, on July 1, 2006, been seen at the residence of a person where there

were people using methamphetamine and dividing methamphetamine into packages for sale

and that on July 2, 2006 the defendant was seen at a garage owned by his father which is a

place where there had been an investigation regarding the use of methamphetamine. In the

Order of Detention, the court allowed the defendant further time to present any evidence that

he was not at the residence described above and to further present evidence that would

support the contention that he had suffered in injury in the fall and that he had received

medical treatment for the injury. The undersigned incorporates, by reference, all findings as

set forth in the Order of Detention filed on July 25, 2006.

       At the hearing in this matter, the defendant’s counsel presented as Exhibit “1” a letter

from Dr. Roger R. Hill, MD of Table Rock Family Medicine. In the letter, Dr. Hill stated

that the defendant had been seen in Dr. Hill’s office on July 3, 2006 which would have been

on Monday. The defendant was seen as a result of a fall. Dr. Hill noticed that the defendant



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had an abrasion of his right arm, swelling and discomfort of his right ankle and injuries to

his hips. X-rays were performed upon the defendant which were all normal. The defendant

further presented a letter from Hope Valley, Inc. which was marked as Exhibit “2”. In the

letter, Phillip S. Carter, Licensed Clinical Addiction Specialist, stated that the defendant had

completed the inpatient program of treatment at Hope Valley, Inc. Evidence was further

presented by the defendant through the testimony from the defendant’s sister, Christy Draf.

In her testimony, the defendant’s sister testified that she would be happy to have the

defendant come live with her and that she would act as a custodian for the defendant.

       In rebuttal, the Government introduced into evidence affidavits of Chris Chambliss,

a special agent with the North Carolina State Bureau of Investigation, which had been

executed before the undersigned on the 8 th of August 2006.           In the affidavit, Agent

Chambliss set forth repeated instances of the defendant’s involvement in multiple and

repeated sells of methamphetamine which had occurred at the home and residence of the

defendant at his mother and father’s home and also evidence of such transactions at a garage

building owned by the defendant identified as Keller Motor Company located in Glen Alpine,

North Carolina. Evidence was further presented through Martin Lawing, Detective of the

Burke County Sheriff’s Department.         Det. Lawing testified that during the period of

detention that the defendant had requested that his sister assist him in setting up a three-way

telephone call whereby the defendant could contact one of his co-defendants in this matter

and other co-defendants in regard to a state prosecution. Evidence was further presented that



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in one of the charges that are pending in state court, that the defendant had attempted to elude

law enforcement officers by use of a motor vehicle which resulted in a chase of the defendant

by law enforcement officers on Interstate 40 in McDowell County, North Carolina.

       Discussion. The undersigned has reconsidered the factors as set forth under 18 U.S.C.

3142(g). The undersigned finds the following:

        (g)(1): The nature and circumstances of the offense charged involve multiple sales of
the narcotic drug methamphetamine by the defendant. The affidavits of Agent Chambliss
showed that the defendant was involved in repeated sales of this narcotic drug despite the
fact that he was under investigation by law enforcement.

     (g)(2): The weight of the evidence against the defendant is strong, significant,
compelling and shocks the conscious of this court.

        (g)(3): The undersigned incorporates the history and characteristics of the person as
is set forth in the findings of July 25, 2006.

       (g)(4): The nature and seriousness of the danger to any other person or the community
that would be posed by the defendant’s release indicates that there is a present danger to any
other person or the community that would be posed by the defendant’s release.

The undersigned has considered the evidence presented by the defendant. The defendant has

not presented any evidence to support a contention that he was not at the residence at which

he had been seen on July 1, 2006. The undersigned has also considered the fact that the

defendant has presented evidence of medical treatment. However, countervailing this

evidence is the fact that the defendant was seen walking across the parking lot of his garage

on Sunday, July 2, 2006 which would have been the date prior to his treatment for ankle

injuries by his physician. The undersigned has further considered the evidence as contained

in the affidavits of Agent Chambliss which show repeated sales of methamphetamine by the

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defendant and which show that the defendant was actively involved in the sale of this drug

in Burke County for several years. The undersigned also is greatly troubled by the evidence

that the defendant has been attempting to contact co-defendants despite previous admonitions

by this court that he should not have any contact whatsoever with his co-defendants.

       After weighing all of the factors as set forth above, the undersigned has determined

to enter an ORDER detaining the defendant pending further proceedings in this matter.




                                             Signed: August 23, 2006




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